 Case 4:20-cv-00135-RAJ-RJK Document 1 Filed 09/02/20 Page 1 of 8 PageID# 1



                       IN THE UNITED STATES DISTRICT COURT
                                                                                     FILED

                                        Norfolk Division                          SEP - 2 2020

                                                                             ^LbHK, U.S. DISTRICT COURT
VINCENT A. NELMS and REBECCA L. NELMS

vs.


MOHAMED HAJJI                                       Civil Action No._                    /3<r
and

HAJjrS WHOLESALE L.L.C.




                     COMPLAINT FOR VIOLATIONS OF FEDERAL

                  ODOMETER LAW AND DEMAND FOR JURY TRIAL

                                      INTRODUCTION

       Plaintiffs bring this action for damages to redress the many violations oflaw that resulted

in their purchasing a vehicle that was not worth what they paid for it. The vehicle developed

numerous problems shortly after purchase which was not consistent with a vehicle of such low

mileage. When the Plaintiffs attempted to have the vehicle repaired, they were alerted that the

vehicle had more than 100,000 miles on it which had not been disclosed to them when they

purchased the vehicle. The Defendants are Mohamed Hajji and Hajji's Wholesale L.L.C., d.b.a.

HW Auto Wholesale.



       This Complaint is filed and these proceedings are instituted under the Motor Vehicle

Information and Costs Savings Act(The Federal Odometer Act), 49 U.S.C. § 32710, for both

statutory and actual damages, reasonable Attorney's fees, and costs because the Defendant's

violations offederal consumer protection statutes, and because ofthe Defendants' violations of

the Virginia Consumer Protection Act(VCPA), and their actual fraud.
Case 4:20-cv-00135-RAJ-RJK Document 1 Filed 09/02/20 Page 2 of 8 PageID# 2



                                        PARTIES

 1. Plaintiffs, Vincent A. Nelms & Rebecca L. Nelms are natural persons who are residents

    of Yorktown, Virginia.

 2. Defendant Mohamed Hajji is a natural person who resides in Virginia,

 3. Defendant Hajji's Wholesale L.L.C., d.b.a. H W Auto Wholesale, is a Virginia

    corporation doing business at 6400 E. Virginia Beach Boulevard, Norfolk, Virginia

    23502.


                                    JURISDICTION

 4. Jurisdiction is vested in this Court pursuant to 49 U.S.C. § 32710(b)and 28 U.S.C. §

    1331, and supplemental jurisdiction ofthe state law claims regarding the same

    transaction and events under 28 U.S.C. § 1367(a). Declaratory and injunctive relief is

    requested pursuant to 28 U.S.C. §§ 2201 and 2202, and the VCPA pursuant to Virginia

    Code § 59.1-203(C).

                                         FACTS


 5. At all relevant times, Mohamed Hajji was doing business as a car dealer with

    Commonwealth of Virginia dealership certificate number 46465, issued to "Mohamed

    Hajji d.b.a. Hajji's Wholesale L.L.C. also d.b.a. H W Auto Wholesale."

 6. At all relevant times, Hajji's Wholesale L.L.C., was operated as the instrumentality and

    alter ego of Mohamed Hajji. All conduct of Hajji's Wholesale L.L.C. was conduct of

    Mohamad Hajji and was within the course and scope of agency for Mohamad Hajji.

    Throughout the remainder ofthis Complaint, Mohamed Hajji, Hajji's Wholesale L.L.C.

    and H W Auto Wholesale, will collectively be referred to as "the Dealer."

 7. The Dealer purchased the 2009 Chrysler Town & Country Mini Van, vehicle

    identification number 2A8HR54109R640326(the Van),from an Auto Auction in New
Case 4:20-cv-00135-RAJ-RJK Document 1 Filed 09/02/20 Page 3 of 8 PageID# 3



    York on or about February 5, 2018, with approximately 48,000 miles indicated on its

    odometer,

 8. When buying the Van from the Auto Auction,the Dealer had access to an electronic

    database called Carfax and a quick check ofthat database would have disclosed that the

    Van had already been driven 147,080 miles as of May,2017, and that the odometer

    reading of48,193 miles, allegedly on the Van at that time, was not accurate.

 9. Because the Van had over 100,000 miles on it and because the Van was nine years old,

    the Dealer knew or should have known that the odometer reading provided to it by the

    Auto Auction was not the actual mileage on the Van. Furthermore, since it did not

    receive a proper odometer disclosure form,the Dealer had insufficient information upon

    which to base its representation in any subsequent odometer mileage disclosure statement

    that it made that the odometer reading was accurate.

 10. The Dealer had the vehicle inspected by Greenbrier Dodge after it purchased the Van.

 11. As part of its inspection, Greenbrier Dodge necessarily would or should have noticed that

    the Van's engine and other parts indicated that it clearly had more than the 48,193 miles

    that were apparently on the odometer at the time.

 12. On or about May 12, 2018,the Dealer sold the Van to the Plaintiffs for $10,507.41,

    representing the Van's mileage to be low mileage, specifically 48,286 miles, and

    representing the Van to be in good condition.

 13. The representation as alleged was false.

 14. All of the documents containing mileage information that were shown to Plaintiffs,

    Vincent A. Nelms & Rebecca L. Nelms,indicated that the mileage on the Van was

    48,286 miles, including:
Case 4:20-cv-00135-RAJ-RJK Document 1 Filed 09/02/20 Page 4 of 8 PageID# 4



    a. The AutoCheck Vehicle report from Hajji's Wholesale L.L.C. for this 2009 Chrysler

        Town & Country(2A8HR54109R640326)that reported no indication of an odometer

        rollback or tampering was found.(Exhibit 1)

    b. The Buyers Order issued by the Dealer shows the odometer reading as 48,286 miles.

        (Exhibit 2)

 15. After possessing the vehicle for a week,the Plaintiffs began to experience major problems with

    the vehicle which included: 1)Persistent gas fumes in the passenger cabin; 2)A malfunctioning

    brake system which required the replacement of all rotors, brake shoes and pads; and 3) Required

    replacement ofthe Engine Cylinder Head due to a stripped out spark plug hole. (Exhibit 3)

    c. After the Plaintiffs had repair work completed,the Plaintiffs obtained a CARFAX Vehicle

         History report from the Landmark Dodge Service Department on September 5, 2018, which

         indicated that the odometer had been rolled back. (Exhibit 4)

 16. The Plaintiffs have given the Dealer several opportunities to correct the problem, the last attempt

     being made on August 28,2020, and the Dealer has refused to rectify the problem.

 17. Since September 5,2018,the Plaintiffs have been ready and able to return the Van to the Dealers

     in exchange for a refund and incidental expenses.

 18. As a result ofthe Dealer's conduct, and the lack of the Dealers willingness to make the Plaintiffs

     whole as a result ofthe harm caused by the fraudulent acts ofthe Dealer, the Plaintiffs have been

    forced to file this lawsuit to obtain damages caused by Dealer.

                                     CLAIMS FOR RELIEF

                                  FIRST CAUSE OF ACTION

               Violations of the Motor Vehicle Information and Cost Savings Act



 19. Pursuant to 49 U.S.C. § 32705 and the regulations for enforcement thereof at 49 U.S.C. §§

     580.1 et seq, each purchaser and each seller ofthe Van was required to create an accurate

     and complete odometer disclosure for the Van each time it was sold. The Defendant
Case 4:20-cv-00135-RAJ-RJK Document 1 Filed 09/02/20 Page 5 of 8 PageID# 5



     Dealer violated the Federal Odometer Act by accepting an inaccurate disclosure from the

     person the Dealer received the Van from [49 U.S.C. § 32705(a)(3)] and the Dealer

     violated the Federal Odometer Act by making false odometer disclosures, and gave false

     statements in violation of49 U.S.C. § 32705(a)and 49 U.S.C. § 580.4.

 20. The Defendants violated this Act by not properly creating an accurate and complete

     odometer disclosure for the Van.

 21. The Defendant's violations were done with the intent to defraud.

                                 SECOND CAUSE OF ACTION

                                UCC-Breach of Express Warranty



 22. Plaintiff incorporates all previous paragraphs.

 23. The representations of mileage constitute express written warranties under Virginia Code §8.2-

     313 in that the mileage was a part ofthe "contract description" ofthe Van.

 24. The Plaintiffs suffered actual damages proximately caused by this breach of warranty

     pursuant to Virginia Code §8.2-714.

 25. Under Virginia Code §8.2-715, Plaintiffs are also entitled to recover incidental and consequential

     damages as defined in Virginia Code §8.2-715.

 26. The limitation of consequential damages in a consumer setting such as this case, where the parties

     are dealing with a contract of adhesion and have unequal bargaining power, is unconscionable

     and thus the limitation is unenforceable pursuant to Virginia Code §8.2-719(3).

 27. Under Virginia Code §8.2-714(3), this is a proper case for the Plaintiffs to recover incidental and

     consequential damages as provided for by Virginia Code §8.2-715; the consequential damages

     recoverable under Virginia Code §8.2-715 includes all loses resulting from the Plaintiff's unmet

     requirements and needs for transportation.
Case 4:20-cv-00135-RAJ-RJK Document 1 Filed 09/02/20 Page 6 of 8 PageID# 6



                                  THIRD CAUSE OF ACTION

                       Violations ofthe Virginia Consumer Protection Act



 28. Plaintiff incorporates all previous paragraphs.

 29. The transaction between the Defendant and the Plaintiffs was a "consumer transaction" regulated

     by the prohibitions ofthe Virginia Consumer Protection Act(VCPA)Virginia Code §§59.1-200.

 30. The sale was a"consumer transaction," the Defendants are a "supplier," the Plaintiffs are

     "persons" as defined in Virginia Code §59.1-198, and the Defendants violated Virginia Code

     §59.1-200(A)(5),(6),(7)and (14)by misrepresenting the miles on the Van. The Defendants

     also violated the VCPA by using "Wholesale" in its name when it does not primarily sell its

     vehicles at the wholesale price. Virginia Code §59.1-200(12). The Defendants also violated the

     VCPA by failing to unequivocally disclose in its offer of sale to the Plaintiffs that the Van had

     been previously repossessed. Virginia Code §59.1-200(7).

 31. Each ofthe Defendant's violations ofthe VCPA was done willfully entitling the

     Plaintiffs to their actual damages, statutory damages, and exemplary damages pursuant to

     Virginia Code §59.1-204.

 32. In the alternative, if the actions of the Defendants are found to be unintentional but still in

     violation ofthe VCPA,the Plaintiffs demand restitution and legal fees and costs pursuant

     to Virginia Code §59.1-207.

                                 FOURTH CAUSE OF ACTION

                       Fraudulent Inducement/Fraud/Constructive Fraud



 33. Plaintiff incorporates all previous paragraphs.

 34. The Defendants intentionally misrepresented that the odometer showed the actual miles to their

     best knowledge and belief, when they knew or should have known this representation to be

     untrue.
Case 4:20-cv-00135-RAJ-RJK Document 1 Filed 09/02/20 Page 7 of 8 PageID# 7



 35. The Defendants made these representations to induce the Plaintiffs or consumers like the

    Plaintiffs into agreeing to purchase the Van for an inflated price.

 36. The Plaintiffs relied on the fact that the odometer reading was accurate by agreeing to

    purchase the Van and suffered damages as a result ofthat reliance. The Plaintiffs'

    damages are recoverable under the Virginia common law for fraud, as well as those

    recoverable under Virginia Code §8.2-721. In the alternative to diminished value and their

    consequential and incidental damages,the Plaintiffs demand that the contract be cancelled, and

    they recover what they paid for the Van,that the balance oftheir loan be paid, plus they receive

    their incidental and consequential damages that they suffered.

 37. In the alternative of actual fraud, these misrepresentations were made innocently or

     negligently sufficient to support a claim for constructive fraud.

                                  Request for Punitive Damages



 38. The actions by the Defendants show willful and malicious conduct in conscious disregard to the

     Plaintiffs' rights sufficient to justify an award of punitive damages against them.

     WHEREFORE,the Plaintiffs respectfully prays that this Court:

 1. Assume jurisdiction ofthis case;

 2. Award statutory damages of$10,000, or treble actual damages, whichever is greater,

     pursuant to the Motor Vehicle Information and Costs Savings Act,49 U.S.C. § 32710(a)

     against each Defendant;

 3. Award actual damages under the Federal Odometer Act, the Virginia Uniform

     Commercial Code, the Virginia Consumer Protection Act and Fraud/Constructive Fraud

     claims; or in the alternative, under the fraud claim permit rescission ofthe contract and

    the recovery ofthe Plaintiffs' additional incidental and consequential damages.
Case 4:20-cv-00135-RAJ-RJK Document 1 Filed 09/02/20 Page 8 of 8 PageID# 8



4. Award three times the actual damages or $1,000, whichever is greater, for each willful

   violation of the Virginia Consumer Protection Act pursuant to Virginia Code §59.1-204

   against the Defendants;

5. Assess punitive damages against the Defendants;

6. Pursuant to 28 U.S.C. §§ 2201 and 2202, and Virginia Code §59.1-203[C], declare that the

   Defendants violated the Motor Vehicle Information and Costs Savings Act, and the

   Virginia Consumer Protection Act; and enjoin these Defendants from future similar

   violations;

7. Award the Plaintiffs' cost and reasonable attorney's fees in accordance with the Motor

   Vehicle Information and Costs Savings Act, the Virginia Consumer Protection Act; and

   fraud claims; and

8. Award such other relief as the Court deems appropriate.




                             TRIAL BY JURY DEMANDED




                                                               Respectfully Submitted,      .


                                                                          Vincent A. Nelms,
                                                                           Plaintiff, Pro Se
                                                                    507 Wrought Iron Bend
                                                                  Yorktown, Virginia 23693
                                                                           (757)707-0175




                                                                         Rebecca L. Nelms,
                                                                           Plaintiff, Pro Se
                                                                    507 Wrought Iron Bend
                                                                  Yorktown, Virginia 23693
                                                                           (757)707-0175
